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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         CASE NO. 1:18-CR-00246 DAD-BAM
12                               Plaintiff,            JOINT STATUS REPORT AND STIPULATION
                                                       REGARDING EXCLUDABLE TIME PERIODS
13                         v.                          UNDER SPEEDY TRIAL ACT REGARDING
                                                       DEFENDANT SADOL DIAZ; ORDER
14   RUBEN CORTEZ-ROCHA,
     JOSE LOZANO,                                      CURRENT DATE: June 8, 2020
15    aka “Junior”                                     TIME: 1:00 p.m.
     SADOL DIAZ-BELTRAN, and                           COURT: Hon. Barbara A. McAuliffe
16   RICARDO ZEPEDA-NAVARRO
17                               Defendants.
18

19                                             STATUS REPORT

20          Defendant SADOL DIAZ-BELTRAN (“defendant”) was arraigned and released on the above-

21 referenced case on December 10, 2018. Doc. 29. To the parties’ knowledge, defendant has abided by

22 the terms and conditions of his release.

23          The government has made a plea offer to defendant. The parties expect the case to resolve by

24 way of plea agreement.

25          Defendant’s co-defendants have either entered guilty pleas or have signed plea agreements with

26 the government and are scheduled to enter guilty pleas on August 3, 2020. Doc. 111-113.
27                                              STIPULATION

28          This case is set for status conference on June 8, 2020. On May 13, 2020, this Court issued

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 1 General Order 618, which suspends all jury trials in the Eastern District of California until further

 2 notice, and allows district judges to continue all criminal matters. This and previous General Orders

 3 were entered to address public health concerns related to COVID-19.

 4           Although the General Orders address the district-wide health concern, the Supreme Court has

 5 emphasized that the Speedy Trial Act’s end-of-justice provision “counteract[s] substantive

 6 openendedness with procedural strictness,” “demand[ing] on-the-record findings” in a particular case.

 7 Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-record findings, there can be no

 8 exclusion under” § 3161(h)(7)(A). Id. at 507. Moreover, any such failure cannot be harmless. Id. at

 9 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153 (9th Cir. 2000) (explaining that a
10 judge ordering an ends-of-justice continuance must set forth explicit findings on the record “either orally

11 or in writing”).

12           Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory

13 and inexcusable—General Orders 611, 612, 617, and 618 require specific supplementation. Ends-of-

14 justice continuances are excludable only if “the judge granted such continuance on the basis of his

15 findings that the ends of justice served by taking such action outweigh the best interest of the public and

16 the defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A). Moreover, no such period is excludable

17 unless “the court sets forth, in the record of the case, either orally or in writing, its reason or finding that

18 the ends of justice served by the granting of such continuance outweigh the best interests of the public

19 and the defendant in a speedy trial.” Id.

20           The General Orders exclude delay in the “ends of justice.” 18 U.S.C. § 3161(h)(7) (Local Code

21 T4). Although the Speedy Trial Act does not directly address continuances stemming from pandemics,

22 natural disasters, or other emergencies, this Court has discretion to order a continuance in such

23 circumstances. For example, the Ninth Circuit affirmed a two-week ends-of-justice continuance

24 following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d 764 (9th Cir. 1981). The court

25 recognized that the eruption made it impossible for the trial to proceed. Id. at 767-68; see also United

26 States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to exclude time following the
27 September 11, 2001 terrorist attacks and the resultant public emergency). The coronavirus is posing a

28 similar, albeit more enduring, barrier to the prompt proceedings mandated by the statutory rules.

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 1          In light of the societal context created by the foregoing, this Court should consider the following

 2 case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-

 3 justice exception, § 3161(h)(7) (Local Code T4). 1 If continued, this Court should designate a new date

 4 for the status conference. United States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010) (noting any

 5 pretrial continuance must be “specifically limited in time”).

 6                                                 STIPULATION

 7          Plaintiff United States of America, by and through its counsel of record, and defendant SADOL

 8 DIAZ, by and through defendant’s counsel of record, Roger Wilson, hereby stipulate as follows:

 9          1.      By previous order, this matter was set for status on June 8, 2020.

10          2.      By this stipulation, defendants now move to continue the status conference until October

11 26, 2020, and to exclude time between June 8, 2020, and October 26, 2020, under Local Code T4.

12          3.      While the parties anticipate that the case will resolve without a trial, this is not yet a

13 certainty. If defendant ultimately does not enter a guilty plea and decides to proceed to trial, the parties

14 agree and stipulate, and request that the Court find the following:

15                  a)      The government has represented that the discovery associated with this case

16          includes over 100 pages of reports and photographs, as well as over 40 audio recordings, many

17          of which are in a foreign language. This discovery has been produced directly to counsel.

18                  b)      Counsel for defendant desires additional time to consult with his client, to review

19          the current charges, to conduct investigation and research related to the charges, to review and

20          copy discovery for this matter, to discuss potential resolutions with his client, to prepare pretrial

21          motions, and to otherwise prepare for trial.

22                  c)      Counsel for defendant believes that failure to grant the above-requested

23          continuance would deny them the reasonable time necessary for effective preparation, taking into

24          account the exercise of due diligence.

25                  d)      The government does not object to the continuance.

26                  e)      Based on the above-stated findings, the ends of justice served by continuing the

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            The parties note that General Order 612 acknowledges that a district judge may make
28 “additional findings to support the exclusion” at the judge’s discretion. General Order 612, ¶ 5 (E.D.
   Cal. March 18, 2020).
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 1          case as requested outweigh the interest of the public and the defendant in a trial within the

 2          original date prescribed by the Speedy Trial Act.

 3                 f)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 4          et seq., within which trial must commence, the time period of June 8, 2020 to October 26, 2020,

 5          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4],

 6          because it results from a continuance granted by the Court at defendant’s request on the basis of

 7          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

 8          of the public and the defendant in a speedy trial.

 9          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

10 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

11 must commence.

12          IT IS SO STIPULATED.

13
      Dated: May 26, 2020                                     MCGREGOR W. SCOTT
14                                                            United States Attorney
15
                                                              /s/ ANGELA SCOTT
16                                                            ANGELA SCOTT
                                                              Assistant United States Attorney
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18
      Dated: May 26, 2020
19                                                            /s/ per email authorization
                                                              ROGER WILSON
20                                                            Counsel for Defendant
                                                              SADOL DIAZ-BELTRAN
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22
                                                      ORDER
23          IT IS SO ORDERED that the Status Conference is continued from June 8, 2020, to October 26,
24 2020, at 1:00 p.m. before Magistrate Judge Barbara A. McAuliffe. Time is excluded pursuant to 18

25 U.S.C.§ 3161(h)(7)(A), B(iv).

26 IT IS SO ORDERED.
27
        Dated:    May 26, 2020                                   /s/ Barbara A. McAuliffe           _
28                                                     UNITED STATES MAGISTRATE JUDGE

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